                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )      No. 3:11-00012
v.                                           )      Judge Sharp
                                             )
SHATIKA DIX [6]                              )
                                             )


                                          ORDER

       Due to a calendar conflict, the revocation hearing scheduled for April 21, 2014, at 4:00

p.m. is hereby rescheduled for 1:30 p.m. the same day.

       It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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